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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

    VEROBLUE FARMS USA, INC.,                              §
       Plaintiff                                           §
                                                           §
     v.                                                    §            CIVIL ACTION NO. 3:19-CV-00764-L
                                                           §
    LESLIE A. WULF, ET AL.,                                §
       Defendants                                          §


            THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S RESPONSE TO
          THIRD-PARTY PLAINTIFFS’ SUPPLEMENTAL RESPONSE AND BRIEF IN
           OPPOSITION TO THIRD-PARTY DEFENDANT NORMAN MCCOWAN’S
             MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO THE
                       TEXAS CITIZEN’S PARTICIPATION ACT

           Third-Party Defendant Norman McCowan (“McCowan”) hereby files this response to

Third-Party Plaintiffs’ Supplemental Response and Brief in Opposition to the Third-Party

Defendant Norman McCowan’s Motion to Dismiss Third-Party Claims Pursuant to the Texas

Citizen’s Participation Act Addressing Recent Fifth Circuit Precedential Opinion (“Supplemental

Response”) [Dkt. 114], and shows as follows:

                          FACTUAL AND PROCEDURAL BACKGROUND

           In July 2018, VBF filed the instant lawsuit against Defendants Leslie A. Wulf (“Wulf”),

Bruce A. Hall (“Hall”), James Rea (“James Rea”), and John (Ted) Rea (“Ted Rea”) (collectively,

the “Third-Party Plaintiffs”) and Keith Driver, asserting claims for breach of fiduciary duty,

fraudulent concealment, fraudulent misrepresentation, constructive fraud, civil conspiracy, aiding

and abetting, unjust enrichment, equitable accounting, and declaratory judgment. (Dkt. 9).1


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 VBF has a pending Motion for Leave to Amend its Amended Complaint [Dkt. 102], seeking to add additional claims
against the Third-Party Plaintiffs for fraudulent transfer, restitution, violations of the Racketeer Influenced and Corrupt
Organizations Act, and rescission of the Termination Agreements that are the basis of the allegations in the Third-
Party Claims.

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       On April 10, 2019, the Third-Party Plaintiffs brought claims for tortious interference with

contract against McCowan, Eva Ebstein, Jens Haarkoetter, Bjorn Thelander, Anders Wester, Dr.

Otto Happel, and Alder Aqua, Ltd (“Third-Party Defendants” and the “Third-Party Claims”).

(Dkt. 66). The Third-Party Defendants are current and former directors, officers, or shareholders

of VBF.

       On June 1, 2019, McCowan filed his Motion to Dismiss Third-Party Claims Pursuant to

the Texas Citizens Participation Act and Brief in Support (the “Motion”) [Dkt. 114], in addition

to his Rule 12(b)(6) Motion to Dismiss Third-Party Claims and Brief in Support [Dkt. 113], which

is still pending. In the Motion, McCowan requested that the Court dismiss the Third-Party Claims

pursuant to the Texas Citizens Participation Act (“TCPA”) because the allegations and claims are

based on, related to, or in response to McCowan’s exercise of his rights of free speech and to

petition regarding a matter of public concern. Specifically, McCowan argued that the Third-Party

Claims are based on allegations regarding McCowan’s opinions and actions as an officer of VBF

relating to VBF’s termination of its business relationships with the Third-Party Plaintiffs and

initiating suit against the Third-Party Plaintiffs for malfeasance. In the Motion, McCowan asserted

that, because the Third-Party Plaintiffs have not alleged any facts sufficient to state a claim for

tortious interference with a contract—much less bring forth clear and specific evidence to support

each essential element of their prima facie case, which would be required under the TCPA—the

Court should dismiss the Third-Party Claims in their entirety and award McCowan his attorneys’

fees and costs pursuant to the TCPA.

       Furthermore, in the Motion, McCowan notified this Court of the pending appeal before the

Fifth Circuit in Klocke v. v. Watson, a Northern District of Texas case that projected to resolve the

issue of whether the TCPA applies in federal court. McCowan requested, in the alternative, that



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if the Court was included to deny the Motion, that the Court instead stay its disposition of the

Motion pending the Fifth Circuit’s decision in Klocke.

        On Friday, August 23, 2019, the Fifth Circuit issued its decision in Klocke, holding that

the TCPA does not apply to diversity cases in federal court. Klocke v. Watson, 2019 WL 3977545

at *1 (5th Cir. Aug. 23, 2019). On Tuesday, August 27, 2019, Third-Party Plaintiffs filed their

Supplemental Response, arguing that the Klocke decision that the TCPA does not apply in federal

court “directs immediate denial of McCowan’s Motion to Dismiss” with prejudice. (Dkt. 143 at

2). In addition to seeking denial of the Motion, Third-Party Plaintiffs also seek an award of

attorneys’ fees under the TCPA for responding to the Motion, which they contend was “frivolous”

within the meaning of the TCPA. (Id. at 4).

        For the reasons explained below, Third-Party Plaintiffs’ request for the immediate denial

of the Motion is premature, as the Fifth Circuit’s decision is not yet final. Furthermore, Third-

Party Plaintiffs request for attorneys’ fees under the TCPA must be denied. Assuming the Klocke

court’s decision becomes final, its ruling that the TCPA does not apply in federal court preludes

Third-Party Plaintiffs from recovering any attorneys’ fees under the TCPA—which the Klocke

court explained in its decision—and the Klocke decision itself demonstrates that the Motion was

not frivolous.

                                            ARGUMENT

A.      Third-Party Plaintiffs’ request that the Court immediately deny the Motion is
        premature.

        McCowan does not dispute that the Klocke court held that the TCPA does not apply to

diversity cases in federal court.       However, Third-Party Plaintiffs’ request that the Court

immediately deny McCowan’s Motion is premature, as the Fifth Circuit’s decision is not yet final.

As of the date of this filing, neither the deadline for filing a petition for rehearing nor the deadline


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for filing a petition for certiorari has lapsed. See Fed. R. App. P. 40(a)(1) (“Time. Unless the time

is shortened or extended by order or local rule, a petition for panel rehearing may be filed within

14 days after entry of judgment. . . .”); U.S. Sup. Ct. R. 13(1) (“Unless otherwise provided by law,

a petition for a writ of certiorari to review a judgment in any case, civil or criminal, entered by a

state court of last resort or a United States court of appeals . . . is timely when it is filed with the

Clerk of this Court within 90 days after entry of the judgment.”). As the deadline to file a petition

for rehearing has not yet lapsed, the Fifth Circuit’s mandate has not yet issued. See Fed. R. App.

P. 41(b) (“The court's mandate must issue 7 days after the time to file a petition for rehearing

expires, or 7 days after entry of an order denying a timely petition for panel rehearing, petition for

rehearing en banc, or motion for stay of mandate, whichever is later. The court may shorten or

extend the time by order.”). Until it issues a mandate, the Fifth Circuit’s decision is not yet final

as the Fifth Circuit retains control of the appeal and can alter or modify its opinion and judgment.

See Charpentier v. Ortco Contractors, 480 F.3d 710, 713 (5th Cir. 2007) (“This court retains

control over an appeal until we issue a mandate. Before our mandate issues, we have the power

to alter or modify our judgment. Accordingly, our decision is not final until we issue a mandate.”)

(footnotes omitted).

        Because there is a possibility that the Fifth Circuit may amend its opinion in Klocke and

the case may be reheard or appealed, it is not appropriate at this juncture to immediately deny the

Motion as Third-Party Plaintiffs request. McCowan fully intends to move to withdraw his Motion

if no petition for rehearing and no petition for certiorari is filed and the Fifth Circuit issues its

mandate.2 Until those events occur, any request to deny the Motion is premature. McCowan



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 Regardless, McCowan has another motion to dismiss based upon Federal Rule of Civil Procedure 12 that will remain
pending. See Third-Party Defendant Norman McCowan’s Rule 12(b)(6) Motion to Dismiss Third-Party Claims and
Brief in Support [Dkt. 113].

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therefore requests that this Court defer ruling on the Motion until the mandate issues and the

deadlines for motions for rehearing and appeals have lapsed.

B.       Third-Party Plaintiffs’ request for attorneys’ fees must be denied.

         Third-Party Plaintiffs awkwardly argue that although the TCPA does not apply in federal

court, they are nonetheless entitled to recover attorneys’ fees under the TCPA. Their request for

attorneys’ fees defies logic and must be denied. The Klocke decision itself reflects that if the

TCPA does not apply in federal court, then its attorneys’ fees provisions also do not apply in

federal court:

         Klocke also alleges that the TCPA’s attorney’s fees and sanctions provisions
         conflict with Rules 12(b)(6) and 56. But we need not discuss that issue in detail
         because those provisions are not applicable apart from the burden-shifting early
         dismissal framework. See Tex. Civ. Prac. & Rem. Code § 27.009(a) (“If the court
         orders dismissal of a legal action under this chapter, the court shall award to the
         moving party” attorney’s fees and possible sanctions.) (emphasis added). Suffice
         to say that because the TCPA does not apply in federal court, the district court erred
         by awarding fees and sanctions pursuant to it.

Id. at *5 n.6; see also Southwest Airlines Co. v. Roundpipe, LLC, No. 3:18-CV-0033-G, 2019 WL

1315896, at *11 n.5 (N.D. Tex. Mar. 22, 2019) (Fish, J.) (finding TCPA non-movant’s request for

attorneys’ fees pursuant to the TCPA was moot because the court denied the TCPA motion to

dismiss on the basis that the TCPA did not apply in federal court).

         Moreover, the Klocke decision itself demonstrates that the Motion was not frivolous.

Indeed, the Klocke court acknowledged how the Fifth Circuit “passed several times on deciding

whether, or to what extent, the TCPA applies in federal court.” Id. at 2. And when confronted

with the issue of whether a prior decision holding that Louisiana’s anti-SLAPP statute applied in

federal court, see Henry v. Lake Charles American Press, L.L.C., 566 F.3d 164, 169 (5th Cir.

2009), was binding under the Fifth Circuit’s rule of orderliness, the Klocke panel conceded that




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this question was “not free from doubt” before ultimately concluding that it was not binding. Id.

at *6.

         Thus, the Motion was not frivolous and there is no basis to award attorneys’ fees to the

Third-Party Plaintiffs under the TCPA. In any event, if the Klocke decision becomes final, its

ruling that the TCPA does not apply in federal diversity cases will preclude Third-Party Plaintiffs

from recovering any award of attorneys’ fees under the TCPA. Accordingly, their request for

attorneys’ fees must be denied.

                                         CONCLUSION

         For the reasons set forth above, Third-Party Defendant Norman McCowan respectfully

requests that the Court (i) defer ruling on the Motion until the mandate issues and the deadlines

for motions for rehearing and appeals have lapsed; and (ii) deny Third-Party Plaintiffs’ request for

attorneys’ fees under the TCPA. McCowan also requests all other relief to which he may be

entitled.




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DATED: September 3, 2019.                Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       This document was filed electronically on September 3, 2019, and, in compliance with
Local Civil Rule LR 5.1(d), a copy of this document has been served on all counsel of record.

                                                 /s/ Nicole Williams
                                                 Nicole Williams




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